          Case 1:17-cr-00195-JEJ Document 76 Filed 06/08/20 Page 1 of 6




                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   )
                                           )     Crim. No.: 1:17-CR-00195
     vs.                                   )
                                           )     (C.J. Jones)
HOPE R. CARBONE and                        )
DONNA VENTURINI                            )     Electronically Filed

                             STATUS REPORT

      The United States, by and through undersigned counsel, submits

this Report on the current status of the extradition of Defendant Jose

Dominquez.

     Background

     1.      On August 16, 2017, a one-count Information was filed

charging Donna Venturini (Venturini), Hope Carbone (Carbone), and

Jose Dominguez (Dominguez) with conspiracy to defraud the United

States in violation of 18 U.S.C. § 371.

     2.      On September 13, 2017, Venturini and Carbone pleaded

guilty to the Information pursuant to a written plea agreement whereby

they agreed to fully cooperate with the government, including by

providing testimony at the trial of their co-defendant, Dominguez. In

return, the Government agreed to file a USSG 5K1.1 downward


                                       4
          Case 1:17-cr-00195-JEJ Document 76 Filed 06/08/20 Page 2 of 6




departure motion at the completion of their cooperation, assuming that

their assistance is deemed sufficient.

     3.      To date, Venturini and Carbone have cooperated with the

government. Their cooperation included proffers and the production of

documents. However, their cooperation is not as yet complete because

their plea agreements with the United States include a provision that

Venturini and Carbone testify at the trial of Dominguez if called upon by

the United States.

     4.      Jose Dominguez is a national of the Dominican Republic and

he is currently in that country. The U.S. Department of Justice, through

its Office of International Affairs (“OIA”), is in the process of obtaining

his extradition to the United States so that he may stand trial in this

court.

     5.      According to the OIA, the extradition matter has been fully

litigated in the Dominican Republic Supreme Court, including briefing

and argument. At this juncture, only a final decision is pending.

Previously, in a Joint Motion to Continue to the sentencings of Venturini

and Carbone filed on February 6, 2020, this Court was advised a decision

from the Dominican Republic Court was expected within the two (2) or


                                       4
          Case 1:17-cr-00195-JEJ Document 76 Filed 06/08/20 Page 3 of 6




three (3) months.

     6.      The Court was further advised that if the Dominican

Republic’s Supreme Court issued a decision in support of extradition, the

Dominican Republic Executive Branch then reviews the matter, and

executes an order of extradition. The Executive Branch’s review and

decision was estimated to take one (1) to two (2) months.

     7.        In light of the above, the government provided its best

estimate of four (4) months before an extradition order would be issued.

     8.      Dominguez remains a fugitive and continues to contest his

extradition to the United States to face the charges pending in this

Court.

     Impact of the COVID-19 Pandemic on the Status of the
     Dominguez Extradition

     9.      As stated above, the extradition request has been litigated

and the United States is awaiting the Dominican Republic Supreme

Court’s decision. However, the COVID-19 pandemic has adversely

impacted the issuance of the decision. Like other nations, the

Dominican Republic has been in shutdown in order to protect the health

and welfare of its population. Out of necessity, its court system has

prioritized the matters it addresses, such as national security matters,

                                       4
       Case 1:17-cr-00195-JEJ Document 76 Filed 06/08/20 Page 4 of 6




violent crime, and the COVID-19 issues the nation faces.



     10.   It remains the position of the U.S. Attorney’s Office that

Venturini and Carbone complete their cooperation before the United

States will a downward departure motion on their behalf. As stated

above, cooperation included includes their testimony if called by the

United States in the trial of Dominguez.

     11.    Venturini and Carbone face a sentencing guideline total

offense level of 19. If they were to proceed to sentencing before they have

an opportunity to complete their cooperation, Venturini and Carbone are

concerned that without a downward departure motion, the guidelines call

for a terms of incarceration for both. With the filing of a downward

departure motion, the court will be in a position to consider alternative

forms of punishment, including home detention which, based the

backgrounds of both women and the facts in this case, may be appropriate

sentences in this case.




                                     4
        Case 1:17-cr-00195-JEJ Document 76 Filed 06/08/20 Page 5 of 6




     12.   The parties recognize that this case has been on the court’s

docket for a lengthy period of time. Nevertheless, due to the unforeseen

circumstances the pandemic has caused, the parties respectfully ask that the

court to delay the scheduling of sentencings until at least November 2020.

                                   Respectfully submitted,

                                   DAVID J. FREED
                                   United States Attorney

                                   s/ Joseph J. Terz
                                   Joseph J. Terz
                                   Assistant U.S. Attorney
                                   joseph.terz@usdoj.gov (eMAIL)
                                   Attorney I.D. PA55480




                                      4
       Case 1:17-cr-00195-JEJ Document 76 Filed 06/08/20 Page 6 of 6




         IN THE UNITED STATES DISTRICT COURT
       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                )
                                        )     Crim. No.: 1:17-CR-00195
     vs.                                )
                                        )     (C.J. Jones)
HOPE R. CARBONE and                     )
DONNA VENTURINI                         )     Electronically Filed


                    CERTIFICATE OF SERVICE

     The undersigned hereby certifies that he is an Assistant U.S.
Attorney in the Office of the United States Attorney for the Middle
District of Pennsylvania and is a person of such age and discretion as to
be competent to serve papers.

     That on June 8, 2020, he served a copy of the attached:

                          STATUS REPORT

by electronic filing to the persons hereinafter named:

                        Charles A. De Monaco
                     cdemonaco@foxrothschild.com

                           Patrick J. Egan
                       pegan@foxrothschild.com

                           Martin R. Raskin
                        mraskin@raskinlaw.com

                                        /s/ Joseph J. Terz
                                        Joseph J. Terz
                                        Assistant U.S. Attorney



                                    4
